            Case: 1:25-cv-01285 Document #: 1 Filed: 02/06/25 Page 1 of 23 PageID #:1




     BRETT A. SHUMATE
 1
     Acting Assistant Attorney General
 2   Civil Division
     DREW C. ENSIGN
 3   Deputy Assistant Attorney General
     AUGUST FLENTJE
 4
     Deputy Director
 5   EREZ REUVENI
     Assistant Director
 6   Office of Immigration Litigation
 7   ERIC HAMILTON
     Deputy Assistant Attorney General
 8   ALEXANDER K. HAAS
     Director
 9   JACQUELINE COLEMAN SNEAD
10   Assistant Director
     ELISABETH J. NEYLAN
11   Trial Attorney
     Federal Programs Branch
12   Attorneys for the United States
13
                                      UNITED STATES DISTRICT COURT
14                                    NORTHERN DISTRICT OF ILLINOIS
                                            EASTERN DIVISION
15
16    THE UNITED STATES OF AMERICA,
                                                     No. 1:25-cv-1285
17                            Plaintiff,
                v.
18                                                   COMPLAINT
19    STATE OF ILLINOIS; JB PRITZKER,
      Governor of Illinois, in his Official
20    Capacity; THE CITY OF CHICAGO;
      BRANDON JOHNSON, Mayor of
21
      Chicago, in his Official Capacity; LARRY
22    SNELLING, Chicago Police
      Superintendent, in his Official Capacity;
23    COOK COUNTY, ILLINOIS; COOK
      COUNTY BOARD OF
24
      COMMISSIONERS; TONI
25    PRECKWINKLE, President of the Cook
      County Board of Commissioners, in her
26    Official Capacity; THOMAS J. DART,
27    Cook County Sheriff, in his Official
      Capacity,
28                       Defendants.


     Complaint of the United States
            Case: 1:25-cv-01285 Document #: 1 Filed: 02/06/25 Page 2 of 23 PageID #:2




              Plaintiff, the United States of America, by and through its undersigned counsel, brings
 1
 2   this civil action for declaratory and injunctive relief, and alleges as follows:

 3                                    PRELIMINARY STATEMENT
 4
     1.       Within hours of assuming the Presidency, President Trump declared a “national
 5
              emergency exists at the southern border of the United States” from the unprecedented
 6
 7            “illegal entry of aliens” into the country. Proclamation 10,886, Declaring a National

 8            Emergency at the Southern Border of the United States, 90 Fed. Reg. 8327, 8327 (Jan. 20,
 9            2025). “Many of these aliens unlawfully within the United States present significant
10
              threats to national security and public safety, committing vile and heinous acts against
11
              innocent Americans.” Executive Order 14,159, Protecting the American People Against
12
13            Invasion, 90 Fed. Reg. 8443, 8443 (Jan. 20, 2025). Further exacerbating this national

14            crisis, some of these aliens find safe havens from federal law enforcement detection in so-
15            called Sanctuary Cities where they live and work among innocent Americans, who may
16
              later become their crime victims.
17
     2.       This national crisis underscores the vital importance of “[e]nforcing our Nation’s
18
19            immigration laws.” Id. This action seeks to put an end to one State’s efforts to impede

20            the Federal Government from doing that.
21
     3.       The United States brings this declaratory and injunctive action to prohibit the State of
22
              Illinois and its subdivisions from enforcing several state and local laws—namely, the Way
23
24            Forward Act, TRUST Act, Welcoming City Act, and Cook County, Ill. Ordinance 11-O-

25            73—that are designed to and in fact interfere with and discriminate against the Federal
26            Government’s enforcement of federal immigration law in violation of the Supremacy
27
              Clause of the United States Constitution. See The TRUST Act, 5 Ill. Comp. Stat. 805/1 et
28


     Complaint of the United States                  -1-
            Case: 1:25-cv-01285 Document #: 1 Filed: 02/06/25 Page 3 of 23 PageID #:3




              seq. (2017), amended, Illinois Way Forward Act, 2021 Ill. Legis. Serv. 102-234; Cook
 1
 2            County, Illinois Ordinance 11-O-73 (2011); and Welcoming City Ordinance, Chicago

 3            Mun. Code ch. 2-173 (2012).
 4
     4.       The United States has well-established, preeminent, and preemptive authority to regulate
 5
              immigration matters. This authority derives from the United States Constitution,
 6
 7            numerous acts of Congress, and binding U.S. Supreme Court precedent. Indeed, Congress

 8            last week strengthened that authority with the enactment of the Laken Riley Act, S. 5,
 9            119th Cong. (2025), which “mandates the federal detention of illegal immigrants who are
10
              accused of theft, burglary, assaulting a law enforcement officer, and any crime that causes
11
              death or serious bodily injury.” DHS, Press Release, President Trump Signs the Laken
12
13            Riley Act in Law, https://www.dhs.gov/news/2025/01/29/president-trump-signs-laken-

14            riley-act-law.
15   5.       Both the Governor of Illinois JB Pritzker and Mayor of Chicago Brandon Johnson, sued
16
              here in their official capacities, profess a shared interest with the Federal Government in
17
              enforcing immigration laws to effectuate the removal of such offenders from the United
18
19            States. Last week on CNN, Governor Pritzker proclaimed: “Well let me start by being

20            clear that when we’re talking about violent criminals who’ve been convicted and who are
21
              undocumented, we don’t want them in our state. We want them out of the country. We
22
              hope they do get deported. And if that’s who they’re picking up, we’re all for it.”
23
24            https://www.cnn.com/2025/01/26/politics/video/sotu-pritzker-on-planned-chicago-

25            immigration-raids. Illinois laws, however, provide otherwise.
26   6.       The challenged provisions of Illinois, Chicago, and Cook County law reflect their
27
              intentional effort to obstruct the Federal Government’s enforcement of federal
28


     Complaint of the United States                  -2-
            Case: 1:25-cv-01285 Document #: 1 Filed: 02/06/25 Page 4 of 23 PageID #:4




              immigration law and to impede consultation and communication between federal, state,
 1
 2            and local law enforcement officials that is necessary for federal officials to carry out

 3            federal immigration law and keep Americans safe.
 4
     7.       Upon information and belief, the conduct of officials in Chicago and Illinois minimally
 5
              enforcing—and oftentimes affirmatively thwarting—federal immigration laws over a
 6
 7            period of years has resulted in countless criminals being released into Chicago who should

 8            have been held for immigration removal from the United States. According to the U.S.
 9            Immigration and Customs Enforcement’s (ICE) Law Enforcement Statistical Tracking
10
              Unit, from Fiscal Year 2016 until 2025, Enforcement and Removal Operations (ERO)
11
              arrested 13,564 aliens in Illinois, lodging 11,036 detainers. For those arrested, many were
12
13            charged with serious crimes including assault, larceny, and sexual and drug-related

14            offenses.
15   8.       The Illinois Way Forward Act and TRUST Act both impede the Federal Government’s
16
              ability to regulate immigration and take enforcement actions against illegal aliens by
17
              preventing state law enforcement officials from assisting with federal civil immigration
18
19            enforcement. Under these laws, state officers are explicitly prohibited from complying

20            with immigration detainers or civil immigration warrants; they are also prevented from
21
              entering into agreements to detain noncitizens for federal civil immigration violations.
22
              See 5 Ill. Comp. Stat. 805/15.
23
24   9.       The Chicago law, the Welcoming City Ordinance, Chicago Municipal Code ch. 2-173,

25            limits the ability of Chicago law enforcement officers (1) to provide the Federal
26            Government with basic information about noncitizens who are in their custody and are
27
              subject to federal immigration custody, including custody status or release date, and (2)
28


     Complaint of the United States                  -3-
            Case: 1:25-cv-01285 Document #: 1 Filed: 02/06/25 Page 5 of 23 PageID #:5




              to provide federal officers access to such individuals to effect their safe transfer to federal
 1
 2            immigration custody when presented with a federal administrative warrant.

 3   10.      The Cook County law, Ordinance 11-O-73, “Policy for Responding to ICE Detainers,”
 4
              similarly limits the ability of Cook County law enforcement officers to provide the Federal
 5
              Government with basic information about noncitizens who are in their custody and are
 6
 7            subject to federal immigration custody, or to provide federal officers access to such

 8            noncitizens to effect their safe transfer to federal immigration custody when presented
 9            with a federal administrative warrant.
10
     11.      The challenged provisions of Illinois, Chicago, and Cook County law have the purpose
11
              and effect of making it more difficult for, and deliberately impeding, federal immigration
12
13            officers’ ability to carry out their responsibilities in those jurisdictions. These provisions

14            intentionally obstruct the sharing of information envisioned by Congress, including basic
15            information such as release dates and custodial status, thereby impairing federal detention
16
              of removable aliens, including dangerous criminals, as required by federal law; they
17
              further purport to direct federal officials to procure criminal arrest warrants in order to
18
19            take custody of removable aliens, even though Congress has made an explicit policy

20            choice that such removals can be effectuated by civil arrest warrants for immigration
21
              enforcement; and they facilitate the release of dangerous criminals into the community by
22
              directing local employees to refuse to transfer such aliens to federal officials in a secure
23
24            environment—thereby resulting in their release onto the streets, where they all too often

25            reoffend and commit serious crimes.
26
27
28


     Complaint of the United States                    -4-
            Case: 1:25-cv-01285 Document #: 1 Filed: 02/06/25 Page 6 of 23 PageID #:6




     12.      Upon information and belief, the provisions of Chicago and Cook County law that restrict
 1
 2            information sharing jeopardize the safety of residents. For example, last August, federal

 3            officials issued a detainer request for an alien being held in Cook County jail on domestic
 4
              violence charges. The detainer was not honored, and the alien was subsequently arrested
 5
              on October 10, 2024 for aggravated criminal sexual assault and abuse of a minor.
 6
 7   13.      The Supremacy Clause prohibits Illinois, Chicago, Cook County, and their officials from

 8            obstructing the Federal Government’s ability to enforce laws that Congress has enacted
 9            or to take actions entrusted to it by the Constitution.
10
     14.      The Supremacy Clause also prohibits Illinois, Chicago, and Cook County from singling
11
              out the Federal Government for adverse treatment—as the challenged laws do—thereby
12
13            discriminating against the Federal Government. Accordingly, the provisions challenged

14            here are invalid and should be enjoined.
15                                     JURISDICTION AND VENUE
16
     15.      The Court has jurisdiction over this action under 28 U.S.C. §§ 1331 and 1345.
17
     16.      Venue is proper in this jurisdiction under 28 U.S.C. § 1391(b) because Defendants City
18
19            of Chicago, Cook County, and their officials reside within the Northern District of Illinois

20            and because all Defendants’ acts or omissions giving rise to this Complaint arose from
21
              events occurring within this judicial district.
22
     17.      The Court has the authority to provide the relief requested under 28 U.S.C. §§ 1651, 2201,
23
24            and 2202, and its inherent equitable powers.

25                                                 PARTIES
26   18.      Plaintiff, the United States of America, regulates immigration under its constitutional and
27
              statutory authorities, and it enforces federal immigration laws through its Executive
28


     Complaint of the United States                    -5-
            Case: 1:25-cv-01285 Document #: 1 Filed: 02/06/25 Page 7 of 23 PageID #:7




              agencies, including the Departments of Justice, State, Labor, and Homeland Security
 1
 2            (DHS) as well as DHS’s component agencies U.S. Immigration and Customs Enforcement

 3            (ICE), and U.S. Customs and Border Protection (CBP).
 4
     19.      Defendant State of Illinois is a state of the Union.
 5
     20.      Defendant JB Pritzker is the Governor of Illinois, and is being sued in his official
 6
 7            capacity.

 8   21.      Defendant City of Chicago is a city in the State of Illinois and a Sanctuary City.
 9   22.      Defendant Brandon Johnson is the Mayor of Chicago, and is being sued in his official
10
              capacity.
11
     23.      Defendant Larry Snelling is the Superintendent of the Chicago Police Department, and
12
13            is being sued in his official capacity.

14   24.      Defendant Cook County is a county in the State of Illinois.
15   25.      Defendant Cook County Board of Commissioners is the governing board and legislative
16
              body of Cook County, and is responsible for the management of the affairs of Cook
17
              County.
18
19   26.      Defendant Toni Preckwinkle is President of the Cook County Board of Commissioners,

20            and is being sued in her official capacity.
21
     27.      Defendant Thomas J. Dart is the Sheriff of Cook County, and is being sued in his official
22
              capacity.
23
24                                    FEDERAL IMMIGRATION LAW

25   28.      The Constitution affords Congress the power to “establish a uniform Rule of
26            Naturalization,” U.S. Const. art. I, § 8, cl. 4, and to “regulate Commerce with foreign
27
              Nations,” U.S. Const. art. I, § 8, cl. 3, and affords the President of the United States the
28


     Complaint of the United States                     -6-
            Case: 1:25-cv-01285 Document #: 1 Filed: 02/06/25 Page 8 of 23 PageID #:8




              authority to “take Care that the Laws be faithfully executed[.]” U.S. Const. art. II, § 3.
 1
 2   29.      The Supremacy Clause of the Constitution mandates that “[t]his Constitution, and the

 3            Laws of the United States which shall be made in Pursuance thereof . . . shall be the
 4
              supreme Law of the Land . . . any Thing in the Constitution or Laws of any State to the
 5
              Contrary notwithstanding.” U.S. Const. art. VI, cl. 2. Thus, a state enactment is invalid if
 6
 7            it “stands as an obstacle to the accomplishment and execution of the full purposes and

 8            objectives of Congress,” Hines v. Davidowitz, 312 U.S. 52, 67 (1941), or if it
 9            “discriminate[s] against the United States or those with whom it deals,” South Carolina
10
              v. Baker, 485 U.S. 505, 523 (1988).
11
     30.      Based on its enumerated constitutional and sovereign powers to control and conduct
12
13            relations with foreign nations, the Federal Government has broad authority to establish

14            immigration laws, the execution of which States cannot obstruct or take discriminatory
15            actions against. See Arizona v. United States, 567 U.S. 387, 394–95 (2012); accord North
16
              Dakota v. United States, 495 U.S. 423, 435 (1990) (plurality); id. at 444–47 (Scalia, J.,
17
              concurring).
18
19   31.      Congress has exercised its authority to make laws governing the entry, presence, status,

20            and removal of aliens within the United States by enacting various provisions of the
21
              Immigration and Nationality Act (INA), 8 U.S.C. § 1101 et seq.
22
     32.      These laws confer upon the Executive Branch extensive authority to inspect, investigate,
23
24            arrest, detain, and remove aliens who are suspected of being, or found to be, unlawfully

25            in the United States. See 8 U.S.C. §§ 1182, 1225, 1226, 1227, 1228, 1231.
26   33.      In effectuating these provisions, DHS may issue an “immigration detainer” that “serves
27
              to advise another law enforcement agency that [DHS] seeks custody of an alien presently
28


     Complaint of the United States                   -7-
            Case: 1:25-cv-01285 Document #: 1 Filed: 02/06/25 Page 9 of 23 PageID #:9




              in the custody of that agency, for the purpose of arresting and removing the alien.” 8
 1
 2            C.F.R. § 287.7(a); see 8 U.S.C. §§ 1103(a)(3), 1226(a), (c), 1231(a), 1357(d). An

 3            immigration “detainer is a request that such agency advise the Department, prior to release
 4
              of the alien, in order for the Department to arrange to assume custody[.]” 8 C.F.R. §
 5
              287.7(a).
 6
 7   34.      DHS also may request, but not require, that custody be extended by a period not to exceed

 8            48 hours, “in order to permit assumption of custody by the Department.” Id. § 287.7(d).
 9            And in some instances, DHS is statutorily required – upon request from local authorities
10
              – to consider whether to issue a detainer for an alien in local custody. See 8 U.S.C. §
11
              1357(d) (addressing violations of laws regulating controlled substances). In other cases,
12
13            DHS is required to issue a detainer for certain aliens, including any alien who is “charged

14            with, is arrested for, is convicted of, admits having committed, or admits committing acts
15            which constitute the essential elements of any burglary, theft, larceny, shoplifting, or
16
              assault of a law enforcement officer offense, or any crime that results in death or serious
17
              bodily injury to another person[.]” 8 U.S.C. § 1226(c).
18
19   35.      On January 29, 2025, President Trump signed into law the Laken Riley Act, named for

20            the nursing student killed by an alien who, after entering the United States illegally,
21
              committed additional crimes but was released before immigration authorities could
22
              intervene. See Laken Riley Act, S. 5, 119th Cong. (2025). The Laken Riley Act requires
23
24            DHS to detain aliens who are unlawfully present in the United States and have been

25            arrested for theft and other crimes. Id.
26   36.      Congress has also codified basic principles of cooperation and comity between state and
27
              local authorities and the Federal Government. For example, federal law contemplates that
28


     Complaint of the United States                      -8-
           Case: 1:25-cv-01285 Document #: 1 Filed: 02/06/25 Page 10 of 23 PageID #:10




              removable aliens in state custody who have been convicted of state or local offenses will
 1
 2            generally serve their state or local criminal sentences before being subject to removal but

 3            will be taken into federal custody upon the expiration of their state prison terms. See 8
 4
              U.S.C. §§ 1226(c), 1231(a)(1)(B)(iii), (a)(4).
 5
     37.      “Consultation between federal and state officials is an important feature of the
 6
 7            immigration system.” Arizona, 567 U.S. at 411. Congress has therefore directed that a

 8            federal, state, or local government entity or official may not prohibit, or in any way
 9            restrict, any government entity or official from sending to, or receiving from, DHS
10
              “information regarding the citizenship or immigration status, lawful or unlawful, of any
11
              individual.” 8 U.S.C. § 1373(a); see id. § 1644 (same); see also id. § 1357(g)(10)(A)
12
13            (providing for state and local “communicat[ion] with [DHS] regarding the immigration

14            status of any individual, including reporting knowledge that a particular alien is not
15            lawfully present in the United States”). Likewise, “no person or agency may prohibit, or
16
              in any way restrict, a Federal, State, or local government entity from,” among other things,
17
              “[m]aintaining” “information regarding the immigration status, lawful or unlawful, of any
18
19            individual,” or “[e]xchanging such information with any other Federal, State, or local

20            government entity.” Id. § 1373(b).
21
     38.      Congress also authorized states and localities “to cooperate with the [Secretary of DHS]
22
              in the identification, apprehension, detention, or removal of aliens not lawfully present in
23
24            the United States.” Id. § 1357(g)(10)(B).

25   39.      Congress further sought to affirmatively penalize efforts to obstruct immigration
26            enforcement by, among other things, prohibiting the “conceal[ing], harbor[ing], or
27
              shield[ing] from detection, or attempts to” accomplish the same, of any “alien in any place,
28


     Complaint of the United States                  -9-
           Case: 1:25-cv-01285 Document #: 1 Filed: 02/06/25 Page 11 of 23 PageID #:11




              including any building or any means of transportation.” Id. § 1324(a)(1)(A)(iii).
 1
 2   40.      DHS, through ICE and CBP, performs a significant portion of its law enforcement

 3            activities in Chicago and Cook County. For example, since Fiscal Year 2024, ERO has
 4
              issued 1,470 detainers in Illinois, and made 400 at-large arrests in Illinois, with 329, or
 5
              roughly 82%, occurring in the Chicago area. And CBP is responsible for enforcing the
 6
 7            immigration laws at international ports of entry, including apprehending attempted

 8            entrants with criminal convictions or who are national security concerns.
 9                                           FACTUAL BACKGROUND
10
                                      Illinois’s TRUST Act and Way Forward Act
11
     41.      The Illinois TRUST Act was enacted in 2017 to prohibit state law enforcement officials
12
13            from participating in federal civil immigration enforcement. See TRUST Act, 5 Ill. Comp.

14            Stat. 805/1 et seq. (2017). The TRUST Act was amended in 2021 by the Way Forward
15            Act, to, among other things, prevent state and local law enforcement officials from
16
              entering into agreements to detain individuals for federal civil immigration violations. See
17
              id. at 805/15(g).
18
19   42.      The Way Forward Act along with the TRUST Act limit cooperation with federal

20            enforcement in numerous ways. For example, Section 15 of the TRUST Act prohibits “[a]
21
              law enforcement agency or law enforcement official” from “detain[ing] or continu[ing] to
22
              detain any individual solely on the basis of any immigration detainer or civil immigration
23
24            warrant or otherwise comply with an immigration detainer or civil immigration warrant.”

25            Id. at 805/15(a).
26   43.      Under that section, unless presented with a federal criminal warrant, or otherwise required
27
              by federal law, state law enforcement officials may not “assist in any capacity with an
28


     Complaint of the United States                     - 10 -
           Case: 1:25-cv-01285 Document #: 1 Filed: 02/06/25 Page 12 of 23 PageID #:12




              immigration agent’s enforcement operations,” id. at 805/15(h). The prohibition extends
 1
 2            to offering collateral assistance, including coordinating an arrest in a public facility; giving

 3            an immigration agent access, even by telephone, to an alien in state custody; transferring
 4
              an alien to an immigration agent’s custody; providing information in response to an
 5
              immigration agent’s inquiry or request; and providing information to an immigration
 6
 7            agent regarding an alien’s release date or contact information that is not otherwise publicly

 8            available. See id. at 805/15(h).
 9   44.      In addition, “[a state] law enforcement agency or law enforcement official may not inquire
10
              about or investigate the citizenship or immigration status or place of birth of any individual
11
              in the agency or official’s custody or who has otherwise been stopped or detained by the
12
13            agency or official.” Id. at 805/15(e).

14   45.      The TRUST Act purportedly does not prohibit “sending to, or receiving from, the United
15            States Department of Homeland Security or other federal, State, or local government
16
              entity information regarding the citizenship or immigration status of any individual under
17
              Sections 1373 and 1644 of Title 8 of the United States Code,” or “contacting another law
18
19            enforcement agency for the purposes of clarifying or confirming the civil or criminal

20            nature of notifications or other records” in certain databases. Id. at 805/5. And the Act
21
              permits “a [state] law enforcement agency or law enforcement official to request evidence
22
              of citizenship or immigration status pursuant to the Firearm Owners Identification Card
23
24            Act, the Firearm Concealed Carry Act, Article 24 of the Criminal Code of 2012, or 18

25            United States Code Sections 921 through 931.” Id. at 805/15(e).
26   46.      Finally, the TRUST Act does not preclude a state law enforcement official from
27
              cooperating with other federal agencies, including Homeland Security Investigations
28


     Complaint of the United States                    - 11 -
           Case: 1:25-cv-01285 Document #: 1 Filed: 02/06/25 Page 13 of 23 PageID #:13




              (HSI), in investigating criminal violations “in order to ensure public safety.” See id. at
 1
 2            805/15(i).

 3           Chicago’s Restrictions on State and Local Cooperation with Federal Officials
                                 (Chicago Municipal Code ch. 2-173)
 4
 5   47.      In 2012, the Chicago City Council passed the “Welcoming City Ordinance,” Chicago

 6            Code ch. 2-173, which sought to “clarify the communications and enforcement
 7
              relationship between the City and the federal government,” in addition to “establish[ing]
 8
              the City’s procedures concerning immigration status and enforcement of federal civil
 9
10            immigration laws.” Chicago Mun. Code § 2-173-005.

11   48.      The Ordinance explicitly and intentionally limits local cooperation with federal
12            immigration enforcement in various ways. It provides that no city agent or agency shall
13
              “detain, or continue to detain a person based upon an immigration detainer” or “an
14
              administrative warrant, including, but not limited to, those entered into the Federal Bureau
15
16            of Investigation’s National Crime Information Center database, or successor or similar

17            database maintained by the United States.” Id. § 2-173-020(a)(1). Moreover, no city
18
              agent shall permit ICE agents “access, including by telephone, to a person being detained
19
              by, or in the custody of, the [city] agency or agent,” or “use of [city] agency facilities for
20
              investigative interviews or other investigative purpose.” Id. § 2-173-020(a)(2). Nor shall
21
22            city agents “expend their time responding to ICE inquiries or communicating with ICE

23            regarding a person’s custody status, release date, or contact information.” Id. § 2-173-
24
              020(a)(3).
25
     49.      Section 2-173-030 provides that: “Unless required to do so by statute, federal regulation,
26
27            court order, or a lawfully issued judicial warrant, no [city] agent or agency shall request,

28            maintain, or share the citizenship or immigration status of any person unless such


     Complaint of the United States                   - 12 -
           Case: 1:25-cv-01285 Document #: 1 Filed: 02/06/25 Page 14 of 23 PageID #:14




              disclosure has been authorized in writing by the individual to whom such information
 1
 2            pertains, or if such individual is a minor or is otherwise not legally competent, by such

 3            individual’s parent or guardian.” Id. § 2-17-030(a)(1).
 4
     50.      These provisions used to contain a limited exception when the subject of the investigation:
 5
              (1) had an outstanding criminal warrant, (2) had been convicted of a felony, (3) was a
 6
 7            defendant in a criminal case with a pending felony charge, or (4) was a known gang

 8            member, but those exceptions were repealed in 2021. See id. 2-173-042(c) (repealed).
 9   51.      Upon information and belief, Chicago law enforcement officials have been chilled by
10
              these prohibitions.
11
     52.      Upon information and belief, Chicago law enforcement officials are also confused by the
12
13            restrictions on them and thus do not provide even the permissible cooperation out of fear

14            of punishment.
15         Cook County’s Restrictions on State and Local Cooperation with Federal Officials
16                                  (Cook County Code § 46-37)

17   53.      In 2011, the Cook County Board of Commissioners approved and adopted Ordinance 11-
18
              O-73, “Policy for Responding to ICE Detainers,” which added Section 46-37 to the Cook
19
              County Code. The policy purports to establish the “proper boundaries of the relationship
20
              between local law enforcement and” ICE. Ordinance 11-O-73, pmbl.
21
22   54.      The Cook County Ordinance limits local cooperation with federal immigration

23            enforcement in numerous ways. It mandates that the county Sheriff “shall decline all ICE
24
              detainer requests unless there is a written agreement with the federal government by which
25
              all costs incurred by Cook County in responding to the detainer shall be reimbursed” and
26
27            that “there shall be no expenditure of any County resources or effort by on-duty County

28            personnel for [the] purpose” of cooperating with ICE detainers. Cook County Code, § 46-


     Complaint of the United States                 - 13 -
           Case: 1:25-cv-01285 Document #: 1 Filed: 02/06/25 Page 15 of 23 PageID #:15




              37(a), (c). Section 46-37(b) of the County Code provides that “ICE agents shall not be
 1
 2            given access to individuals . . . , and County personnel shall not expend their time

 3            responding to ICE inquiries or communicating with ICE regarding individuals’
 4
              incarceration status or release dates while on duty.”
 5
     55.      These provisions contain limited exceptions. County personnel may only provide ICE
 6
 7            access to individuals in County custody or share information concerning an individual’s

 8            incarceration status or release date if “ICE agents have a criminal warrant, or County
 9            officials have a legitimate law enforcement purpose that is not related to the enforcement
10
              of immigration laws.” Id. § 46-37(b).
11
     56.      The Federal Government, through ICE, has offered to reimburse certain costs incurred by
12
13            Cook County as a result of honoring ICE detainers. Cook County rejected that offer.

14   57.      Upon information and belief, since April 1, 2024, there have been numerous instances
15            where Cook County law enforcement officers failed to honor a federal immigration
16
              detainer request concerning an alien who was subsequently criminally charged following
17
              the alien’s release from jail. Had the requested information sharing occurred in these
18
19            instances, the commission of numerous crimes likely would have been averted.

20   58.      Consequently, not only are Cook County employees effectively barred from requesting
21
              and sharing information regarding immigration status with ICE or other law enforcement
22
              agencies, but where ICE has issued an immigration detainer for an alien in local custody,
23
24            the detainer is removed from the alien’s permanent criminal file, and therefore does not

25            follow the alien if he/she is transferred to long-term state incarceration.
26   59.      Upon information and belief, Cook County does not impose these restrictions on other
27
              forms of information sharing or other law enforcement agencies. See Cook County
28


     Complaint of the United States                   - 14 -
           Case: 1:25-cv-01285 Document #: 1 Filed: 02/06/25 Page 16 of 23 PageID #:16




              Ordinance 11-O-73.
 1
 2   60.      Upon information and belief, Cook County law enforcement officials have been chilled

 3            by these prohibitions.
 4
     61.      Upon information and belief, Cook County law enforcement officials are also confused
 5
              by the county restrictions on them and thus do not provide even the permissible
 6
 7            cooperation out of fear of punishment.

 8         THE CHALLENGED PROVISIONS’ IMPACT ON FEDERAL IMMIGRATION
 9                                           ENFORCEMENT
10
     62.      The combined effect of the challenged provisions of Illinois, Chicago, and Cook County
11
              laws, Ill. SB0667, 5 Ill. Comp. Stat. 805, Chicago Mun. Code §§ 2-173-020, 2-173-030
12
13            and Cook County Code § 46-37, facially and as applied, prohibits even the most basic

14            cooperation with federal officials. Congress, in comity to States, permitted state and local
15            jurisdictions to fully punish aliens for state criminal violations prior to removal. See 8
16
              U.S.C. § 1231(a)(4)(A) (providing that, subject to limited exceptions, federal agents “may
17
              not remove an alien who is sentenced to imprisonment until the alien is released from
18
19            imprisonment”). But Congress crafted a statutory scheme that clearly envisioned the

20            Federal Government being able to detain and remove those aliens, once their state
21
              proceedings and sentences concluded.
22
     63.      Specifically, Congress specified that the removal period begins immediately upon release
23
24            from state criminal custody, id. § 1231(a)(1)(B)(iii), and detention during that period is

25            mandatory, id. § 1231(a)(2); see also 8 U.S.C. § 1226(c)(3), id. § 1357(d) (directing
26            immigration officers to obtain a detainer to facilitate the transfer of criminal aliens from
27
              state to federal custody). Congress granted this permission expecting that States would
28


     Complaint of the United States                  - 15 -
           Case: 1:25-cv-01285 Document #: 1 Filed: 02/06/25 Page 17 of 23 PageID #:17




              then facilitate, or at the very least not obstruct, detention of criminal aliens by federal
 1
 2            immigration authorities. If ICE lacks knowledge of criminal aliens’ release dates from

 3            state custody, ICE cannot exercise its statutory responsibility of effecting an arrest upon
 4
              the alien’s release.
 5
     64.      Furthermore, federal law contemplates that DHS will be able to inspect all applicants for
 6
 7            admission, and take all appropriate action against those found to be inadmissible to the

 8            United States, even those transferred to state or local custody pending prosecution. See id.
 9            §§ 1182, 1225(b)(2); 8 C.F.R. § 235.2. And, to facilitate coordination between state and
10
              local officials and the Federal Government, Congress expressly prohibited any federal,
11
              state, or local government entity or official from prohibiting, or in any way restricting,
12
13            any government entity or official from sending to, or receiving from, DHS “information

14            regarding the citizenship or immigration status, lawful or unlawful, of any individual,” 8
15            U.S.C. § 1373(a), or from maintaining and exchanging such information with other law
16
              enforcement entities. Id. § 1373(b); see also id. § 1644.
17
     65.      The challenged Illinois, Chicago, and Cook County laws directly conflict with this
18
19            scheme.

20   66.      The Welcoming City Ordinance runs directly afoul of 8 U.S.C. § 1373 by forbidding city
21
              officers from “expend[ing] their time responding to ICE inquiries . . . regarding a person’s
22
              custody status, release date, or contact information,” Chicago Mun. Code § 2-173-
23
24            020(a)(3), and further providing that such officers may not “request, maintain, or share

25            the citizenship or immigration status of any person,” id. § 2-173-030(a)(1). Nor can
26            Chicago point to its purported savings clause to avoid that reality. The savings clause
27
              allows agents to undertake those activities “if required to do so by statute, federal
28


     Complaint of the United States                  - 16 -
           Case: 1:25-cv-01285 Document #: 1 Filed: 02/06/25 Page 18 of 23 PageID #:18




              regulation, court order, or a lawfully issued judicial warrant,” id. § 2-173-030(a), but
 1
 2            rather than require States and local governments to share and maintain that information,

 3            federal law only prohibits restrictions on those activities. Chicago has therefore prohibited
 4
              the activities that federal law expressly contemplates States will do.
 5
     67.      Moreover, Chicago’s failure to provide exceptions to its prohibition on cooperation with
 6
 7            federal immigration agents conflicts with federal law governing what constitutes a

 8            predicate for inadmissibility or removability. See id. §§ 1182(a)(2), 1227(a)(2). Federal
 9            agents are required to detain illegal aliens who have committed certain offenses upon their
10
              release from state custody. Congress not only recently reaffirmed its commitment to this
11
              mandate, but augmented the authority of federal agents in this space by adding predicate
12
13            offenses that trigger this detention requirement, id. §§ 1226(c), (c)(3), 1357(d); see also

14            Laken Riley Act, S. 5, 119th Cong. (2025).
15   68.      The restrictions on providing ICE access to removable aliens in their custody, see 5 Ill.
16
              Comp. Stat. 805/15(a), (h); Cook County Code § 46-37(b); Chicago Mun. Code § 2-173-
17
              020, also conflict with federal law, which establishes a system of civil administrative
18
19            warrants as the basis for immigration arrest and removal, and does not require or

20            contemplate use of a judicial warrant for civil immigration enforcement. See 8 U.S.C. §§
21
              1226(a), 1231(a).
22
     69.      Further, upon information and belief, because of the challenged laws, DHS lacks the
23
24            ability to readily obtain from local law enforcement the release date of aliens whom DHS

25            has reason to believe are removable from the United States, and DHS lacks access to such
26            aliens to facilitate the transfer of custody, even where DHS presents a Congressionally
27
              authorized civil administrative warrant of arrest or removal, see id. §§ 1226(a), 1231(a),
28


     Complaint of the United States                  - 17 -
           Case: 1:25-cv-01285 Document #: 1 Filed: 02/06/25 Page 19 of 23 PageID #:19




              or has transferred those aliens to local law enforcement in the first instance to permit their
 1
 2            prosecution for a state crime.

 3   70.      By restricting basic information sharing and barring DHS access to aliens in state or local
 4
              custody upon their release as provided by federal law (e.g., an administrative warrant), the
 5
              challenged Illinois, Chicago, and Cook County laws require federal immigration officers
 6
 7            either (1) to engage in difficult and dangerous efforts to re-arrest aliens who were

 8            previously in local custody, endangering immigration officers, the particular alien, and
 9            others who may be nearby, or (2) to determine that it is not appropriate to transfer an alien
10
              to local custody in the first place, in order to comply with their mission to enforce the
11
              immigration laws.
12
13   71.      Illinois, Chicago, and Cook County have no lawful interest in assisting removable aliens’

14            evasion of federal law enforcement.
15   72.      Upon information and belief, neither Illinois, nor Chicago, nor Cook County permits its
16
              employees to place a detainer or administrative warrant in the alien’s file or to enter its
17
              existence in government databases, such that if an alien is transferred to another law
18
19            enforcement agency, that agency cannot act on the undisclosed detainer or administrative

20            warrant or learn about and share that alien’s immigration status with other law
21
              enforcement, including the Federal Government.
22
     73.      Illinois, Chicago, and Cook County single out the Federal Government for their disfavored
23
24            treatment. See 5 Ill. Comp. Stat 805/15; Chicago Mun. Code § 2-173-020; Cook County

25            Ordinance 11-O-73.
26   74.      These provisions are an obstacle to the Federal Government’s enforcement of the
27
              immigration laws and discriminate against federal immigration enforcement, as well as
28


     Complaint of the United States                   - 18 -
           Case: 1:25-cv-01285 Document #: 1 Filed: 02/06/25 Page 20 of 23 PageID #:20




              (with respect to the information-sharing and maintenance restrictions) expressly violate 8
 1
 2            U.S.C. § 1373.

 3   75.      In rejecting congressionally authorized means of enforcing federal immigration law,
 4
              including detainers and administrative warrants, these provisions constitute unlawful
 5
              direct regulation of the Federal Government.
 6
 7                                        CLAIMS FOR RELIEF

 8                    COUNT ONE – VIOLATION OF THE SUPREMACY CLAUSE
                                       (PREEMPTION)
 9
10   76.      Plaintiff hereby incorporates paragraphs 1 through 75 of the Complaint as if fully stated

11            herein.
12   77.      The challenged provisions of the TRUST Act, 5 Ill. Comp. Stat. 805/1 et seq. (2017), as
13
              amended by the Way Forward Act, SB0667 (2021); Cook County Ordinance 11-O-73, §
14
              46-37 (2011); and Chicago Welcoming City Ordinance ch. 2-173 constitute and create
15
16            obstacles to the enforcement of federal immigration law.

17   78.      The challenged provisions of those acts also undermine federal immigration law’s
18
              protections for information sharing and are thus preempted under both express and
19
              conflict preemption principles. E.g., 8 U.S.C. §§ 1373(a), 1644.
20
     79.      Federal immigration law therefore preempts the challenged provisions of the TRUST Act,
21
22            5 Ill. Comp. Stat. 805/1 et seq. (2017), as amended by the Way Forward Act, SB0667

23            (2021); Cook County Ordinance 11-O-73, § 46-37 (2011); and Chicago Welcoming City
24
              Ordinance ch. 2-173.
25
     80.      Accordingly, those provisions violate the Supremacy Clause, interfere with federal law,
26
27            and create obstacles to the enforcement of federal immigration law both on their face and

28            as applied to the Federal Government.


     Complaint of the United States                 - 19 -
           Case: 1:25-cv-01285 Document #: 1 Filed: 02/06/25 Page 21 of 23 PageID #:21




                 COUNT TWO – VIOLATION OF THE SUPREMACY CLAUSE
 1
           (UNLAWFUL DISCRIMINATION AGAINST THE FEDERAL GOVERNMENT)
 2
     81.      Plaintiff hereby incorporates paragraphs 1 through 80 of the Complaint as if fully stated
 3
 4            herein.

 5   82.      Defendants’ enforcement of the challenged provisions of the TRUST Act, 5 Ill. Comp.

 6            Stat. 805/1 et seq. (2017), as amended by the Way Forward Act, SB0667 (2021); Cook
 7
              County Ordinance 11-O-73, § 46-37 (2011); and Chicago Welcoming City Ordinance ch.
 8
              2-173 discriminates against the Federal Government.
 9
10   83.      The challenged provisions single out federal immigration officials, expressly and

11            implicitly, for unfavorable and uncooperative treatment when other law enforcement
12            officials are not so treated.
13
     84.      Accordingly, the challenged provisions of the TRUST Act, 5 Ill. Comp. Stat. 805/1 et seq.
14
              (2017), as amended by the Way Forward Act, SB0667 (2021); Cook County Ordinance
15
16            11-O-73, § 46-37 (2011); and Chicago Welcoming City Ordinance ch. 2-173 violate the

17            Doctrine of Intergovernmental Immunity and therefore alternatively are invalid on that
18
              basis.
19
                   COUNT THREE – VIOLATION OF THE SUPREMACY CLAUSE
20               (UNLAWFUL REGULATION OF THE FEDERAL GOVERNMENT)
21
     85.      Plaintiff hereby incorporates paragraphs 1 through 84 of the Complaint as if fully stated
22
              herein.
23
24   86.      Defendants’ enforcement of the challenged provisions of the TRUST Act, 5 Ill. Comp.

25            Stat. 805/1 et seq. (2017), as amended by the Way Forward Act, SB0667 (2021); Cook
26            County Ordinance 11-O-73, § 46-37 (2011); and Chicago Welcoming City Ordinance ch.
27
              2-173 effects direct regulation of the Federal Government.
28


     Complaint of the United States                 - 20 -
           Case: 1:25-cv-01285 Document #: 1 Filed: 02/06/25 Page 22 of 23 PageID #:22




     87.      By refusing to honor civil detainers and warrants expressly authorized by Congress,
 1
 2            Defendants have unlawfully eliminated these means for federal immigrations officials to

 3            carry out their statutory functions.
 4
     88.      Accordingly, the challenged provisions of the TRUST Act, 5 Ill. Comp. Stat. 805/1 et seq.
 5
              (2017), as amended by the Way Forward Act, SB0667 (2021); Cook County Ordinance
 6
 7            11-O-73, § 46-37 (2011); and Chicago Welcoming City Ordinance ch. 2-173 effect

 8            regulation of the Federal Government and alternatively are invalid on that basis.
 9                                         PRAYER FOR RELIEF
10
     WHEREFORE, the United States respectfully requests the following relief:
11
           1. That this Court enter a judgment declaring that the challenged provisions of the TRUST
12
13            Act, 5 Ill. Comp. Stat. 805/1 et seq. (2017), as amended by the Way Forward Act, SB0667

14            (2021); Cook County Ordinance 11-O-73, § 46-37 (2011); and Chicago Welcoming City
15            Ordinance ch. 2-173 violate the Supremacy Clause and are therefore invalid;
16
           2. That this Court enter a judgment declaring that the challenged provisions of the TRUST
17
              Act, 5 Ill. Comp. Stat. 805/1 et seq. (2017), as amended by the Way Forward Act, SB0667
18
19            (2021); Cook County Ordinance 11-O-73, § 46-37 (2011); and Chicago Welcoming City

20            Ordinance ch. 2-173 violate 8 U.S.C. § 1373 and are therefore invalid;
21
           3. That this Court issue preliminary and permanent injunctions that prohibit Defendants as
22
              well as their successors, agents, and employees, from enforcing the challenged provisions
23
24            of the TRUST Act, 5 Ill. Comp. Stat. 805/1 et seq. (2017), as amended by the Way

25            Forward Act, SB0667 (2021); Cook County Ordinance 11-O-73, § 46-37 (2011); and
26            Chicago Welcoming City Ordinance ch. 2-173;
27
           4. That this Court award the United States its costs and fees in this action; and
28


     Complaint of the United States                  - 21 -
           Case: 1:25-cv-01285 Document #: 1 Filed: 02/06/25 Page 23 of 23 PageID #:23




         5. That this Court award any other relief it deems just and proper.
 1
 2   DATED: February 6, 2025

 3
                                                           BRETT A. SHUMATE
 4
                                                           Acting Assistant Attorney General
 5                                                         Civil Division

 6                                                         DREW C. ENSIGN
 7                                                         Deputy Assistant Attorney General
                                                           AUGUST FLENTJE
 8                                                         Deputy Director
                                                           EREZ REUVENI
 9                                                         Assistant Director
10                                                         Office of Immigration Litigation

11                                                         ERIC HAMILTON
                                                           Deputy Assistant Attorney General
12                                                         ALEXANDER K. HAAS
13                                                         Director
                                                           JACQUELINE COLEMAN SNEAD
14                                                         Assistant Director
                                                           ELISABETH J. NEYLAN
15                                                         Trial Attorney
16                                                         Federal Programs Branch

17                                                         Attorneys for the United States
18
19
20
21
22
23
24
25
26
27
28


     Complaint of the United States               - 22 -
